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     Attorneys for Defendants Michael Stevens
 8   & Pinnacle Heavy Haul, Inc.

 9                             UNITED STATES DISTRICT COURT
10                                   CLARK COUNTY, NEVADA

11   RUTH QUIMBY,                                       CASE NO. 2:19-cv-02181-JCM-NJK

12                                 Plaintiff,

13   v.                                                 STIPULATION AND ORDER FOR
                                                        DISMISSAL WITH PREJUDICE
14   MICHAEL STEVENS, individually;
     PINNACLE HEAVY HAUL INC., an Indiana
15   Corporation; DOES I through X, inclusive;
     and ROE CORPORATIONS I through X,
16   inclusive,

17                                 Defendants.

18
           Whereas the parties have settled to their satisfaction,
19
20         IT IS HEREBY STIPULATED by and between the Plaintiff, RUTH QUIMBY, and

21   Defendants, MICHAEL STEVENS and PINNACLE HEAVY HAUL INC., parties hereto, by

22   and through their respective counsel, THE 702 FIRM and ADAM S. KUTNER &
23
     ASSOCIATES, and HALL JAFFE & CLAYTON, LLP, for Defendants, that this matter be
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     dismissed with prejudice, each side to bear their own costs and attorney’s fees.
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 1         IT IS FURTHER STIPULATED the May 8, 2023 trial and all related pretrial deadlines
 2   be vacated.
 3
     Dated this 24th day of January, 2023.   DATED this 24th day of January, 2023.
 4

 5   THE702FIRM                              HALL JAFFE & CLAYTON, LLP

 6   /s/ Zach Livingston                     /s/ Steven T. Jaffe
     _____________________________           _________________________________
 7   MICHAEL C. KANE, ESQ.                   STEVEN T. JAFFE, ESQ.
 8   Nevada Bar No. 10096                    Nevada Bar No. 7035
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11
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13
     Dated this 24th day of January, 2023.
14
     ADAM S. KUTNER & ASSOCIATES
15
     /s/ Lisa Marie Woodson
16   ________________________________________
     ADAM S. KUTNER, ESQ.
17   Nevada Bar No. 4310
     LISA MARIE WOODSON, ESQ.
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     Attorneys for Plaintiff
20

21                                           ORDER
22         IT IS SO ORDERED January 25, 2023.
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24                                           ________________________________________
                                             UNITED STATES DISTRICT JUDGE
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